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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division


NAVIENT SOLUTIONS, LLC,

                    Plaintiff,

               v.
                                                      Case No. 1:17-cv-01178-LMB-TCB
KROHN & MOSS, LTD.; ADAM KROHN;
ADAM HILL; LAW OFFICES OF RYAN LEE,
PLLC; RYAN LEE; NATIONAL CONSUMER
ADVOCATES, INC.; DOUG JOHNSON;
MICHAEL BIANCONE; MB INVESTMENTS
& CONSULTING; JOHN DOES #1-20,

                    Defendants.


              STIPULATION OF PARTIAL DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rules of Civil Procedure 15(a)(2) and 41(a)(1)(A)(ii), Plaintiff

Navient Solutions, LLC (“NSL”) dismisses defendants Krohn & Moss, Ltd., Adam Krohn, and

Adam Hill (collectively, “K&M”) only, with prejudice, from all claims in the above-captioned

action. All parties who have appeared in this action have joined in this stipulation of dismissal.

In support of the partial dismissal, NSL states as follows:

       1.      NSL and K&M conducted a settlement conference in this case on March 7, 2018,

which continued on March 19, 2018. In connection with the settlement conference, NSL and

K&M entered into a confidential settlement agreement, which has been finalized and executed.

       2.      Pursuant to that confidential settlement agreement, NSL agreed to dismiss all

claims against K&M in this action with prejudice. Therefore, NSL respectfully requests that the

Court enter an Order dismissing this action with prejudice as to K&M only.
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Dated: April 25, 2018                    Respectfully submitted,

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                                         Counsel for Plaintiff Navient Solutions, LLC


Agreed and stipulated to:

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 25th day of April, 2018, I caused a true copy of the foregoing

to be served by email on the parties below:

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       Charles C. Lemley                              Laura Elizabeth Kight Musick
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                                                      By: /s/ Jeffrey Robin Hamlin________
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